Case 3:01-cr-00202-RLV-DSC   Document 296   Filed 02/10/06   Page 1 of 6
Case 3:01-cr-00202-RLV-DSC   Document 296   Filed 02/10/06   Page 2 of 6
Case 3:01-cr-00202-RLV-DSC   Document 296   Filed 02/10/06   Page 3 of 6
Case 3:01-cr-00202-RLV-DSC   Document 296   Filed 02/10/06   Page 4 of 6
Case 3:01-cr-00202-RLV-DSC   Document 296   Filed 02/10/06   Page 5 of 6
Case 3:01-cr-00202-RLV-DSC   Document 296   Filed 02/10/06   Page 6 of 6
